Case 1:23-cr-00040-JMB     ECF No. 187, PageID.2336        Filed 11/15/24   Page 1 of 12




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                       No. 1:23-cr-00040

RICK VERNON JOHNSON,                                  HON. JANE M. BECKERING
                                                      United States District Judge
                    Defendant,

THERESA DAVENPORT,

                    Petitioner.
                                         /

      GOVERNMENT’S MOTION TO DISMISS THIRD-PARTY LETTER
         REGARDING FORFEITURE OF SUBJECT PROPERTY

      The United States of America, through undersigned counsel, respectfully

moves the Court to dismiss the letter filed by Theresa Davenport (R.186,

PageID.2317-2335) regarding the Court’s Preliminary Order of Forfeiture for a

Substitute Asset (R.184, PageID.2308-2310). To the extent this letter can be

construed as a third-party petition for an ancillary hearing to adjudicate a legal

interest in the Subject Property, the Court should dismiss it for failure to comply with

21 U.S.C. § 853(n)(2), (3). Even with its procedural deficiencies cured, the letter fails

to state a proper claim or legal interest in the property under Rule 32.2(c)(1)(A), and

would ultimately fail on the merits. The Court should dismiss the letter, at which

point the government would move the Court to enter a final order of forfeiture

regarding the Subject Property as a substitute asset toward the money judgment.



                                             1
Case 1:23-cr-00040-JMB     ECF No. 187, PageID.2337      Filed 11/15/24   Page 2 of 12




I.    BACKGROUND

      On April 25, 2023, pursuant to a plea agreement with the government,

Defendant Rick Johnson pleaded guilty to Count 1 of the Felony Information, which

charged him with accepting a bribe, in violation of 18 U.S.C. § 666(a)(1)(B). (R.1,

PageID.1-10; R.2: Plea Agreement, PageID.11-26.) In the plea agreement, Defendant

agreed to forfeit to the United States the sum of $110,200, which represents the

proceeds Defendant obtained as a result of his commission of the offense charged in

Count 1 of the Felony Information. (R.2: Plea Agreement, PageID.12.)

      On August 3, 2023, the Court entered an Order of Forfeiture for a Money

Judgment against Defendant in the amount of $110,200, pursuant to 18 U.S.C. §

981(a)(1)(C) and 28 U.S.C. § 2461(c). (R.57: Order of Forfeiture for a Money

Judgment, PageID.403-404.) The Court explicitly retained jurisdiction over this

matter for the purpose of amending the order of forfeiture to include any subsequently

located assets, pursuant to 21 U.S.C. § 853(p). (Id.)

      On September 28, 2023, the Court imposed sentence on Defendant, and

judgment of conviction entered against him. (R.97, PageID.912-918.) The judgment

incorporated the order of forfeiture for a money judgment of $110,200. (R.97,

PageID.918.) The full balance of the order of forfeiture for a money judgment remains

unsatisfied.

      Despite due diligence, the government has been unable to locate the $110,200

in illicit proceed received by Defendant to satisfy the money judgment. Instead, the

government located real property owned by Defendant through a limited liability



                                           2
Case 1:23-cr-00040-JMB     ECF No. 187, PageID.2338       Filed 11/15/24     Page 3 of 12




corporation: 15619 130th Avenue, Leroy, Michigan, Township of Rose, Osceola

County (the “Subject Property”).

      On September 18, 2024, the Court granted the government’s motion for a

preliminary order of forfeiture for a substitute asset and entered a preliminary order

of forfeiture regarding the Subject Property. (R.184, PageID.2308-2310.) The

government published, posted, and provided direct notice of the preliminary order of

forfeiture, in accordance with 21 U.S.C. § 853(n)(1), so that any third party wishing

to assert an interest in the Subject Property could petition the Court in accordance

with 21 U.S.C. §§ 853(n)(2) and (3). (See Ex. 1: Davenport Notice Letter.)

      On October 3, 2024, Theresa Davenport, registered agent of Common Cents

Harvest Farms, LLC, received direct notice of the Court’s preliminary order of

forfeiture regarding the Subject Property. The notice advised that a third party has

“thirty (30) days from receipt of this notice to petition the court for a hearing to

adjudicate the validity of any alleged interest in the property pursuant to Title 21,

United States Code, Sections 853(n)(2), (3).” Therefore, the deadline to file a petition

was November 2, 2024.

      On November 8, 2024, the Clerk of Court filed a letter from Ms. Davenport,

which was postmarked November 4, 2024. (R.186, PageID.2317-2335.) The unsigned

letter from Ms. Davenport confirms that she received direct notice of the preliminary

order of forfeiture on October 3, 2024. (Id., PageID.2317.) It also states that Common

Cents Harvest Farms, LLC is the owner of the Subject Property, and that Defendant

Rick Johnson is not a member of the LLC. The letter claims that it is “inappropriate”



                                           3
Case 1:23-cr-00040-JMB     ECF No. 187, PageID.2339        Filed 11/15/24   Page 4 of 12




to seize this parcel of land to fulfill a money judgment, and asks how to contest this

matter to petition the court for a hearing to adjudicate the validity of any alleged

interest in the property. (Id.) Attached to the letter is the direct notice letter, the

preliminary order of forfeiture, a covenant deed, and an LLC operating agreement.

(R.186-1, PageID.2320-2335.)

II.   LEGAL STANDARDS

      Pursuant to 21 U.S.C. § 853(n)(2), a third party asserting a legal interest in

property subject to forfeiture in a criminal proceeding may petition a district court to

adjudicate the validity of the third party’s alleged interest in that property. Section

853(n) “does not permit ‘relitigation’ of the district court’s antecedent determination

that the item of property is subject to forfeiture.” United States v. Fabian, 764 F.3d

636, 638 (6th Cir. 2014) (citing Fed. R. Crim. P. 32, Advisory Committee Notes). Nor

can a third-party petitioner argue that the district court committed a procedural error

in issuing the forfeiture order, or that the forfeiture was barred by another provision

of law. See United States v. Coffman, 612 F. App’x 278, 279 (6th Cir. 2015) (claimant’s

Eighth Amendment Excessive Fines claim failed because in the ancillary proceeding,

she was not facing prosecution and therefore was not subject to the possibility of a

fine); see also United States v. Tarraf, 725 F. Supp. 2d 625, 635 (E.D. Mich. 2010).

      The third-party petition must be (1) signed by the petitioner under penalty of

perjury; (2) set forth the nature and extent of petitioner’s right, title, or interest in

the property; (3) the time and circumstances of the petitioner’s acquisition of the

right, title, or interest in the property; and (4) any additional facts supporting



                                           4
Case 1:23-cr-00040-JMB      ECF No. 187, PageID.2340       Filed 11/15/24   Page 5 of 12




petitioner’s claim and the relief sought. 21 U.S.C. § 853(n)(3). If a proper petition is

filed, the Court must conduct an ancillary proceeding to determine the validity of the

claim, i.e., whether the petitioner has a vested interest in the forfeited property. 21

U.S.C. § 853(n); Fed. R. Crim. P. 32.2(c)(1). Petitioner bears the burden to prove by a

preponderance of the evidence that their “legal right, title, or interest in the property

. . . was vested in the petitioner rather than the defendant . . . at the time of the

commission of the acts which gave rise to the forfeiture of property under this

section.” 21 U.S.C. § 853(n)(6)(A). 1

      “In the ancillary proceeding, the court may, on motion, dismiss the petition for

lack of standing, for failure to state a claim, or for any other lawful reason. For

purposes of the motion, the facts set forth in the petition are assumed to be true.”

Fed. R. Crim. P. 32.2(c)(1)(A). A Petitioner must demonstrate “statutory standing . .

. as well as Article III standing required for any action brought in federal court.”

United States v. Fabian, No. 1:11-cr-00157-JTN, 2013 WL 150361, *3-4 (W.D. Mich.

Jan. 14, 2013) (citing United States v. $515,060.42 in U.S. Currency, 152 F.3d 491,

497 (6th Cir. 1998); United States v. White, 675 F.3d 1073, 1078 (8th Cir. 2012)

(citation omitted)). No hearing is required where Petitioner fails to allege or make a

prima facie showing of any legal right, title, or interest in the forfeited property.

United States v. Salti, 579 F.3d 656, 664 n.6 (6th Cir. 2009).




1 The other avenue of relief under 21 U.S.C. § 853(n)(6), the “bona fide purchaser

provision,” arguably does not apply here based on the limited facts available in the
letter.
                                           5
Case 1:23-cr-00040-JMB     ECF No. 187, PageID.2341        Filed 11/15/24   Page 6 of 12




       A “motion to dismiss a third-party petition in a forfeiture proceeding prior to

discovery or a hearing should be treated like a motion to dismiss a civil complaint

under Federal Rule of Civil Procedure 12(b).” United States v. Salti, 579 F.3d 656-667

(6th Cir. 2009). While facts in the petition are assumed to be true, conclusory

allegations are not entitled to the same assumption. Salti, 579 F.3d at 667, n.11

(citing Ashcroft v. Iqbal, 556 U.S. 662, 678, 681 (2009) (“While legal conclusions can

provide framework of a complaint, they must be supported by factual allegations.”)).

Consequently, petitioners seeking to claim property subject to the Court’s

preliminary order of forfeiture must allege facts to support legal conclusions. For the

reasons stated below, the letter does not. The Court should dismiss the letter without

holding a hearing under 21 U.S.C. §§ 853(n)(3), 853(n)(6)(A).

III.   DISCUSSION

   A. The letter is not signed under penalty of perjury and therefore fails to strictly
      comply with Section 853(n)(3) and must be dismissed.

       A third-party petition must be (1) signed by the petitioner under penalty of

perjury; (2) set forth the nature and extent of petitioner’s right, title, or interest in

the property; (3) the time and circumstances of the petitioner’s acquisition of the

right, title, or interest in the property; and (4) any additional facts supporting

petitioner’s claim and the relief sought. 21 U.S.C. § 853(n)(3).

       Here, the letter is unsigned, and not subscribed to under penalty of perjury as

required by Section 853(n)(3). This alone is fatal and warrants dismissal. See, e.g.,

United States v. Fabian, No. 1:11-cr-157-JTN, 2013 WL 150361, *7-8 (W.D. Mich.

Jan. 14, 2013) (dismissing petition by a corporation or trust for failure of a

                                           6
Case 1:23-cr-00040-JMB     ECF No. 187, PageID.2342        Filed 11/15/24   Page 7 of 12




representative to sign under penalty of perjury, finding the requirement is not a mere

technical one that is easily excused, because of the danger of false claims in forfeiture

proceedings), aff’d, 764 F.3d 636 (6th Cir. 2014); see also United States v. McDowell,

No. 3:15-cr-00141-TAV-DCP, 2024 WL 631395 (E.D. Tenn. Jan. 26, 2024), r. & r.

adopted, 2024 WL 629840 (E.D. Tenn. Feb. 14, 2024) (dismissing ancillary petition

where petitioner signed both original and amended petitions, but failed to do so under

penalty of perjury and therefore failed to establish statutory standing); United States

v. Porter, 2021 WL 5989033 (E.D. Tenn. Dec. 1, 2021), r. & r. adopted sub nom. United

States v. Robinson, 2021 WL 5988423 (E.D. Tenn. Dec. 17, 2021) (court dismissed

petition where petitioner failed to (1) sign under penalty of perjury, (2) detail nature

and extent of petitioner’s interest in property, and (3) note time and circumstances of

acquisition of interest in property as 21 U.S.C. § 853(n)(3) requires); United States v.

Spencer, No. 3:16-cr-073-3, 2019 WL 2270689, *3 (S.D. Ohio May 28, 2019) (court

dismissed petition not signed under penalty of perjury for failure to satisfy section

853(n)(3)’s pleading requirements).

   B. The letter is untimely and must be dismissed.

      21 U.S.C. § 853(n)(2) provides that third-party petitions must be filed within

30 days of either final publication of notice or receipt of actual notice, whichever is

earlier. Petitions not filed within that window must be dismissed as untimely. See,

e.g., United States v. Marion, 562 F.3d 1330, 1339-42 (11th Cir. 2009); United States

v. Preston, 123 F. Supp. 3d 24, 29-30 (D.D.C. 2015) (dismissing petition filed two

weeks after 30-day deadline expired as untimely and lacking statutory standing).



                                           7
Case 1:23-cr-00040-JMB      ECF No. 187, PageID.2343        Filed 11/15/24    Page 8 of 12




       Here, Ms. Davenport confirms she received actual notice of the preliminary

order of forfeiture of the Subject Property on October 3, 2024. (R.186, PageID.2317.)

Under 21 U.S.C. § 853(n)(2), any petition must therefore have been filed within 30

days, or by November 2, 2024. The letter was filed six days later, on November 8,

2024, and appears to have been mailed out of time as well, on November 4, 2024. (Id.,

PageID.2318.) Therefore, the letter is untimely, and Ms. Davenport lacks statutory

standing to contest forfeiture of the Subject Property. See, e.g., United States v.

Osborn, 357 F. App’x 109, 109-10 (9th Cir. 2009) (“Even assuming the district court

could waive the time bar for excusable neglect under Federal Rule of Civil Procedure

60(b), the district court did not abuse its discretion in declining to do so.”).

       Even if these statutory standing defects could presumably be cured upon leave

of court to file an amended petition, the letter nonetheless fails to state a proper claim

because it is conclusory and fails to plead facts regarding a specific and superior

interest in the Subject Property.

   C. The letter is conclusory and fails to adequately plead specific facts regarding
      the nature and extent of a legal interest in the Subject Property, and the time
      and circumstances of the acquisition of the interest in the property.

       According to the letter, the Subject Property is owned by an LLC, and because

Defendant “is not a member of the LLC,” the government’s “claim to seize [the Subject

Property] to fulfill a money judgment is inappropriate.” (R.186, PageID.2317.) These

conclusory statements are insufficient to state a claim for relief under 21 U.S.C. §

853(n)(3) and the letter should be dismissed under Fed. R. Crim. P. 32.2(c)(1)(A). The

letter’s statements are also inconsistent with the record in this criminal case.



                                             8
Case 1:23-cr-00040-JMB      ECF No. 187, PageID.2344        Filed 11/15/24    Page 9 of 12




      If the letter is construed as a petition, it is insufficient under 21 U.S.C. §

853(n)(3) because it does not set forth the nature and extent of petitioner’s right, title,

or interest in the property; or the time and circumstances of the petitioner’s

acquisition of the right, title, or interest in the property. See, e.g., United States v.

Chang, No. 2:19-mc-51797-SFC-APP, 2020 WL 1083777 (E.D. Mich. Mar. 6, 2020)

(deficient petitions dismissed where they made only a conclusory claim of interest in

forfeited financial accounts and failed to (1) assert a superior legal interest or (2)

claim petitioner was a bona fide purchaser for value—the only two ways that

ancillary petitions can prevail under 21 U.S.C. § 853(n)(6)).

      Similarly, the letter fails to assert a superior legal interest in the Subject

Property. Under 21 U.S.C. § 853(n)(6)(A), it is a petitioner’s burden to prove, by a

preponderance of the evidence, that their legal interest in the Subject Property

existed “at the time of the commission of the acts which gave rise to the forfeiture of

the property.” The letter is silent on this requirement too. To prevail, a petitioner

must have acquired their interest in the Subject Property before the government’s

interest vested at the time of the offense giving rise to forfeiture under the relation

back doctrine in 21 U.S.C. § 853(c). See, e.g., United States v. Silicon Valley Bank

Acct., 549 F. Supp. 2d 940, 958 (W.D. Mich. 2008) (government interest in property

vests at time of criminal acts; predicate acts predated the commencement of the

bankruptcy case, so debt/defendant had no interest in property prior to bankruptcy,

and denying trustee petition); United States v. Galemmo, No. 1:13-CR-141, 2015 WL

4450669, *5 (S.D. Ohio July 20, 2015) (when partnership shares are purchased with



                                            9
Case 1:23-cr-00040-JMB     ECF No. 187, PageID.2345        Filed 11/15/24   Page 10 of 12




 fraud proceeds, government’s interest in those shares vests immediately under §

 853(n) and subsequent transfer of shares by defendant did not terminate

 government’s title). Indeed, a petitioner who lacked a legal interest at the time the

 crime occurred must assert a claim under section 853(n)(6)(B) (bona fide purchaser),

 or not at all. See United States v. Akhtar, 2018 WL 5883930 (6th Cir. 2018) (petitioner

 who based her claim to forfeitable property on events which occurred after the fraud

 scheme cannot recovered under § 853(n)(6)(A) because relation back provision at §

 853(c) vested title to proceeds in government upon commission of the act giving rise

 to forfeiture).

        Lastly, the statements in the letter are inconsistent with the record in this

 criminal case. Under 21 U.S.C. § 853(n)(5), when adjudicating third party interests,

 “the court shall consider the relevant portions of the record of the criminal case which

 resulted in the order of forfeiture.” Here, Defendant admitted that he maintained

 control of the LLC at issue and used it to receive bribe payments. Specifically:

        Defendant arranged for the bribes to be paid to limited liability
        companies over which he maintained control, including JBJ Ranch, LLC,
        VM Enterprises, LLC, and Common Cents Harvest Farms, LLC, to help
        hide the fact that COMPANY A, COMPANY B, BRIAN DENNIS
        PIERCE, and VINCENT TYLER BROWN were providing him with cash
        payments while he was the Chairperson of the MMLB.

 (R.2, PageID.18 (emphasis added); R.90: Gov’t Sent. Memo, PageID.828 (showing

 Defendant received a $20,000 payment through Common Cents Harvest Farms LLC

 on July 11, 2018).) Defendant also listed the LLC and the Subject Property as his

 assets in the final presentence report investigation. (R.83, PageID.796 (valuing the

 Subject Property at $55,000 and Common Cents Harvest Farms LLC at $25,000

                                           10
Case 1:23-cr-00040-JMB           ECF No. 187, PageID.2346             Filed 11/15/24       Page 11 of 12




 based on the value of farm equipment).) This record evidence is inconsistent with the

 unsupported statements in the letter, which is another reason why it should be

 dismissed. 2

 IV.     CONCLUSION

         For the foregoing reasons, the government respectfully requests that the Court

 dismiss the letter now pending before the Court regarding the preliminary order of

 forfeiture for the Subject Property. Because no other petitions have been filed, the

 government will subsequently move the Court for a final order of forfeiture regarding

 the Subject Property once all noticing periods have expired, so that the sale proceeds

 of the Subject Property may be applied to Defendant’s outstanding forfeiture money

 judgment.

                                                         Respectfully submitted,

                                                         MARK A. TOTTEN
                                                         United States Attorney

 Dated: November 15, 2024                                /s/ Daniel T. McGraw
                                                         DANIEL T. McGRAW
                                                         Assistant United States Attorney
                                                         P.O. Box 208
                                                         Grand Rapids, Michigan 49501
                                                         (616) 456-2404




 2 Regardless, LLC members and lienholders of LLC property generally don’t have standing to challenge

 forfeiture of corporate assets. See United States v. Swartz Family Tr., 67 F. 4th 505, 516-517 (2d Cir.
 2023) (petitioner, as “merely a shareholder at least two corporate levels removed from any interest in
 the forfeited asset,” lacks standing under 21 U.S.C. § 853(n)(2) “to pursue a claim based on its equity
 ownership interest in” holding company that held forfeited asset.); United States v. Haning, 479 F.
 Supp. 3d 803 (E.D. Mo. 2020) (member-manager of LLC lacked standing in his individual capacity to
 challenge forfeiture of proceeds from sale of ranch property titled to LLC); United States v. Davis, 2022
 WL 313437 (N.D. Tex. Feb. 2, 2022) (court dismissed petition of managing member of LLC that owned
 forfeited properties for lack of standing; LLC members do not have standing to challenge forfeiture of
 LLC’s assets).

                                                   11
Case 1:23-cr-00040-JMB   ECF No. 187, PageID.2347     Filed 11/15/24   Page 12 of 12




                          CERTIFICATE OF SERVICE

       I certify that on or about November 15, 2024, the foregoing motion was filed

 with the Court using the electronic CM/ECF filing system, and that a copy of the

 motion was mailed to:

 Theresa Davenport
 22518 7 Mile Road
 Reed City, Michigan 49677

                                             /s/ Daniel T. McGraw
                                             DANIEL T. McGRAW
                                             Assistant United States Attorney




                                        12
